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                       Kyle Jeffery Schwark vs.

                      Sheriff Fred Wegener, et al.




                 Deposition of Cathlene Pearce, R.N.

                             March 09, 2017




                                                                        Exhibit F
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Kyle Jeffery Schwark vs.                                                     Deposition of Katherine Margaret Fitting, MD, FACP
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·1· · · · · ·Q.· · ·And do you remember what year?                ·1· ·setting of an incarceration.
·2· · · · · ·A.· · ·2013, I think.                                ·2· · · · · ·Q.· · ·Give me an example of when somebody comes
·3· · · · · ·Q.· · ·Okay.                                         ·3· ·in with a prescription for something and you decide to
·4· · · · · ·A.· · ·And I was called by the nurse who gave me     ·4· ·change it.
·5· ·the list of medications and asked if we should -- what       ·5· · · · · ·A.· · ·The patient comes in with a prescription
·6· ·his medications should be while being at the Park County     ·6· ·for a blood pressure medication that we don't have on the
·7· ·jail.                                                        ·7· ·formulary, and we will substitute a similar medication
·8· · · · · ·Q.· · ·Okay.· And what -- I mean, was that an        ·8· ·that will handle the blood pressure issue.
·9· ·unusual circumstance, where the nurse is calling you and     ·9· · · · · ·Q.· · ·When you say "formulary," it sounds to me
10· ·giving you a list of medications and asking you these        10· ·like -- obviously, jails are concerned about costs every
11· ·kinds of questions?                                          11· ·day.· Is formulary another word for a generic substitute
12· · · · · ·A.· · ·No.                                           12· ·for perhaps a higher-priced medicine?
13· · · · · ·Q.· · ·Okay.· So that's pretty routine?              13· · · · · ·A.· · ·Not always.
14· · · · · ·A.· · ·It's routine to check -- for patients who     14· · · · · · · · · MR. MICHALEK:· Object to form.
15· ·have prescription medications, to call and talk about        15· · · · · ·Q.· · ·(By Mr. Lane)· Did you get informed that
16· ·what will be provided while the inmate is under our          16· ·Mr. Schwark had brought all his own meds into the jail?
17· ·custody.                                                     17· · · · · ·A.· · ·Yes.
18· · · · · ·Q.· · ·Okay.· Now, let me ask you this: A            18· · · · · ·Q.· · ·Okay.· And so he had all his meds.
19· ·prescription, obviously, is a doctor's order that            19· · · · · · · · · Did you change any of his meds?
20· ·somebody should be taking whatever the med is, right?        20· · · · · ·A.· · ·After the first phone call, no.
21· · · · · ·A.· · ·That's what a prescription is.                21· · · · · ·Q.· · ·Okay.· So the nurse read you a list of all
22· · · · · ·Q.· · ·Right.· So we have Mr. Schwark going into     22· ·the meds that Mr. Schwark was on, and you said, Fine,
23· ·the jail with doctors saying, You need this medication,      23· ·that's all okay?
24· ·Mr. Schwark, right?· That's what you understand?             24· · · · · ·A.· · ·I said for them to continue that
25· · · · · · · · · MR. MICHALEK:· Objection.                     25· ·medication.

                                                        Page 18                                                                          Page 20
·1· · · · · ·Q.· · ·(By Mr. Lane)· He was coming to the jail      ·1· · · · · ·Q.· · ·Okay.· Is there any fear that somebody
·2· ·with other doctors out in the world saying, You need to      ·2· ·brings in narcotics, for example, in a bottle that says
·3· ·take this med or that med, or whatever, right?               ·3· ·it's blood pressure medication or something like that?
·4· · · · · · · · · MR. MICHALEK:· Object to the form of the      ·4· · · · · ·A.· · ·That's always a possibility.· And we don't
·5· ·question.                                                    ·5· ·provide narcotics in the jail setting.
·6· · · · · · · · · You can answer.                               ·6· · · · · ·Q.· · ·Right.· So is there any process for
·7· · · · · ·A.· · ·He came to the jail taking medications        ·7· ·screening, you know, the meds?· Somebody claims, Oh, this
·8· ·that were prescribed by other physicians.                    ·8· ·is blood pressure medication, when, really, it's oxies
·9· · · · · ·Q.· · ·(By Mr. Lane)· Okay.· So my question is:      ·9· ·and it's a narcotic or fentanyl, you know, it's a
10· ·Why is the nurse calling you asking about what he should     10· ·narcotic; it's not allowed in the jail?
11· ·be taking when he has outside physicians that have           11· · · · · · · · · Is there some way to screen where the Park
12· ·already told him what he should be taking?                   12· ·County jail gets involved to see that -- you know, He
13· · · · · ·A.· · ·The situation in the jail when someone is     13· ·says this is blood pressure medication; how do we
14· ·incarcerated is a different situation than when that         14· ·actually know it's blood pressure medication?
15· ·person is out in the community.· We have a formulary of      15· · · · · ·A.· · ·Most of the time, we take those
16· ·medications that we use when someone is in the jail.· We     16· ·medications and store them with the patient's -- or with
17· ·don't have --                                                17· ·the inmate's property and substitute medications from our
18· · · · · ·Q.· · ·When you say "a formulary," what does that    18· ·formulary.
19· ·mean?                                                        19· · · · · ·Q.· · ·Okay.
20· · · · · ·A.· · ·That's a list of medications that we          20· · · · · ·A.· · ·In the case where there's not an
21· ·provide.· We may frequently have to substitute               21· ·equivalent within the formulary, the nurses check with
22· ·medications or change medications.                           22· ·the PDR or call the pharmacy that dispensed the
23· · · · · ·Q.· · ·Why is that?                                  23· ·medication and talk with the pharmacist about identifying
24· · · · · ·A.· · ·Because we have policies regarding what       24· ·that particular medication.
25· ·medications are appropriate and safe to use in the           25· · · · · ·Q.· · ·Okay.· Was any of that done with


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·1· ·offered a job and you took it.                            ·1· ·was going to taper the Xanax and go with the
·2· · · · · ·A.· · ·Okay.· Well, excuse me.· I was offered the ·2· ·alcohol-withdrawal protocol.
·3· ·job, I turned in my resignation, and several weeks later, ·3· · · · · ·Q.· · ·Did -- have you been trained or taught at
·4· ·I started over at the nursing home.                       ·4· ·the jail that when a Court orders something, that takes
·5· · · · · ·Q.· · ·Okay.· So you were offered the job while   ·5· ·priority over just about anything else?
·6· ·you were still at the jail?                               ·6· · · · · · · · · MR. MICHALEK:· Objection --
·7· · · · · ·A.· · ·Yes.                                       ·7· · · · · ·Q.· · ·(By Mr. Lane)· If a Court orders
·8· · · · · ·Q.· · ·Okay.· Would you agree that putting        ·8· ·medication, you can't change it and the doctor can't
·9· ·someone on a table if they have a seizure problem without ·9· ·change it.· Nobody can change it except the Court.
10· ·strapping them in or putting up guardrails or doing       10· · · · · ·A.· · ·No.
11· ·something to protect them is not good medical care?       11· · · · · ·Q.· · ·Okay.· Was it of concern to you in any
12· · · · · · · · · MR. MICHALEK:· Object to form.             12· ·way, shape, or form that cutting somebody off of their
13· · · · · · · · · You can answer.                            13· ·customary drugs might have side effects?
14· · · · · · · · · MR. MICHALEK:· Join.                       14· · · · · ·A.· · ·Always does.
15· · · · · ·A.· · ·I would agree.                             15· · · · · ·Q.· · ·It always concerns you or it always has
16· · · · · ·Q.· · ·(By Mr. Lane)· Did you ever have any       16· ·side effects?
17· ·interactions with Dr. Singer?                             17· · · · · ·A.· · ·There's always going to be side effects
18· · · · · ·A.· · ·No.                                        18· ·from a major medication withdrawal like that.
19· · · · · ·Q.· · ·Did you ever at any time have anything to  19· · · · · ·Q.· · ·And one of the side effects from Xanax or
20· ·say about what medications Kyle Schwark was going to be 20· ·Suboxone that you know of is seizures.
21· ·given?                                                    21· · · · · · · · · MR. MICHALEK:· Object to form.
22· · · · · ·A.· · ·Never.                                     22· · · · · · · · · MR. ZIPORIN:· Same objection.
23· · · · · ·Q.· · ·Look at Exhibit 2.                         23· · · · · ·A.· · ·No, it's not.
24· · · · · ·A.· · ·Okay.                                      24· · · · · ·Q.· · ·(By Mr. Lane)· Do you know what the side
25· · · · · ·Q.· · ·Did you fill out Exhibit 2?· Was this a    25· ·effects from withdrawing from Xanax and Suboxone are?

                                                                 Page 34                                                           Page 36
·1· ·combined effort by everybody who was giving the meds?                 ·1· · · · · · · · · MR. MICHALEK:· Object to form.
·2· · · · · ·A.· · ·Yeah.· All of the medication sheets are in             ·2· · · · · ·A.· · ·Yeah.
·3· ·a notebook.                                                           ·3· · · · · ·Q.· · ·(By Mr. Lane)· What?
·4· · · · · ·Q.· · ·And how are those filled out?· Is there a              ·4· · · · · ·A.· · ·Nausea, vomiting, maybe some sweating.
·5· ·specific time when you have to fill those out?                        ·5· · · · · ·Q.· · ·Did you ask Mr. Schwark whether he had
·6· · · · · ·A.· · ·We try to fill them out when they come                 ·6· ·ever had a seizure before?
·7· ·into Holding so we can start figuring out their                       ·7· · · · · ·A.· · ·They did when he came in.
·8· ·medications and talking to doctors and seeing if we have              ·8· · · · · ·Q.· · ·And what did he say?
·9· ·doctors' orders to give the medications that they say                 ·9· · · · · ·A.· · ·No.
10· ·they're on.                                                           10· · · · · ·Q.· · ·So he's now at the jail.· All of a sudden,
11· · · · · ·Q.· · ·You said that Dr. Fitting was taking him               11· ·he has his very first seizure in his entire life.· That's
12· ·off of Suboxone; is that correct?                                     12· ·your understanding?
13· · · · · · · · · MR. ZIPORIN:· Object to form.                          13· · · · · ·A.· · ·That's my understanding.
14· · · · · ·A.· · ·She never told me she was going to take                14· · · · · ·Q.· · ·Approximately how old was he?
15· ·him off of it.· She just said she wasn't certified to                 15· · · · · ·A.· · ·And he wasn't on any medications for
16· ·give it -- to monitor it.                                             16· ·seizures.
17· · · · · ·Q.· · ·(By Mr. Lane)· Okay.· Do you know whether              17· · · · · ·Q.· · ·Which should lead you to believe, like, I
18· ·they ever reached out to anybody who was certified to                 18· ·wonder what caused that seizure, right?
19· ·monitor it?                                                           19· · · · · ·A.· · ·But I knew he was on alcohol when he came
20· · · · · · · · · MR. MICHALEK:· Object to foundation.                   20· ·in.
21· · · · · ·A.· · ·I don't know.· I can't answer that.                    21· · · · · ·Q.· · ·How do you know that?
22· · · · · ·Q.· · ·(By Mr. Lane)· Was Dr. Fitting -- did you              22· · · · · ·A.· · ·It was on the chart.
23· ·hear from anyone that Dr. Fitting was tapering him off                23· · · · · ·Q.· · ·Okay.· And are you saying that you
24· ·the Xanax?                                                            24· ·believed that the seizure he had was alcohol related?
25· · · · · ·A.· · ·When Jeri got off the phone, she said she              25· · · · · ·A.· · ·Yes.

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·1· · · · · ·Q.· · ·And what do you base that on?                 ·1· · · · · ·A.· · ·You are taught to document what you do.
·2· · · · · ·A.· · ·My experience as a nurse.· I have not seen    ·2· · · · · ·Q.· · ·Do they teach you how to write reports?
·3· ·anybody -- there's no evidence-based practice that           ·3· · · · · ·A.· · ·Of course, they do.
·4· ·anybody has had a seizure from withdrawing from opioids      ·4· · · · · ·Q.· · ·And the purpose of these reports is to
·5· ·or barbiturates.                                             ·5· ·memorialize the most important features of what you're
·6· · · · · ·Q.· · ·So you don't know of anybody who's ever       ·6· ·observing, right?
·7· ·had a seizure from opioid withdrawal?                        ·7· · · · · ·A.· · ·Yes.
·8· · · · · ·A.· · ·No.                                           ·8· · · · · ·Q.· · ·Not every detail can be in every report,
·9· · · · · ·Q.· · ·Okay.· I'm looking at Bates stamp page 11.    ·9· ·right?
10· ·Whose signature is in the lower right-hand corner?           10· · · · · ·A.· · ·Well, they don't want every detail.
11· · · · · ·A.· · ·I have no idea.                               11· · · · · ·Q.· · ·That's why you don't put every detail --
12· · · · · ·Q.· · ·Okay.· Was the deputy that was brought in     12· · · · · ·A.· · ·Right.
13· ·from Intake, was that Fenner?                                13· · · · · ·Q.· · ·-- in reports, correct?
14· · · · · ·A.· · ·Uh-huh.                                       14· · · · · ·A.· · ·Yes, sir.
15· · · · · ·Q.· · ·And was it Deputy Flores that was standing    15· · · · · ·Q.· · ·But the summary of the important facts go
16· ·there?                                                       16· ·into the reports, right?
17· · · · · ·A.· · ·I thought it was Deputy Harding.              17· · · · · ·A.· · ·Yes.
18· · · · · ·Q.· · ·Do you have any knowledge as to why Kyle      18· · · · · ·Q.· · ·And is that what you did here?
19· ·Schwark was released from jail on furlough?                  19· · · · · ·A.· · ·I made a report of what happened, yes.
20· · · · · ·A.· · ·No.                                           20· · · · · ·Q.· · ·Okay.· Was anybody rushing you to make
21· · · · · ·Q.· · ·What is your training about -- you've         21· ·that report?
22· ·indicated it would be substandard to put somebody who's      22· · · · · ·A.· · ·No.
23· ·had a seizure up on a table that they could fall off of      23· · · · · ·Q.· · ·Were you under any time pressures to get
24· ·without guardrails, right?                                   24· ·it done?
25· · · · · · · · · MR. ZIPORIN:· Object to form.                 25· · · · · ·A.· · ·No, because nobody told me to write the
                                                        Page 38                                                           Page 40
·1· · · · · · · · · MR. MICHALEK:· Object to form.                ·1· ·report.
·2· · · · · ·A.· · ·Yes.                                          ·2· · · · · ·Q.· · ·So you took your time, thought about what
·3· · · · · ·Q.· · ·(By Mr. Lane)· What is your training about    ·3· ·happened, and then wrote the report?
·4· ·what would be the proper thing to do?                        ·4· · · · · ·A.· · ·Uh-huh.
·5· · · · · ·A.· · ·Well, that's why we left him in a             ·5· · · · · ·Q.· · ·Is that a "yes"?
·6· ·wheelchair for several hours until we felt like he was       ·6· · · · · ·A.· · ·Yes, sir.
·7· ·oriented times three, alert, could talk to us, he was        ·7· · · · · · · · · MR. LANE:· Okay.· Let's take a five-minute
·8· ·eating, and he asked if he could get out of the              ·8· ·break.· I need to talk to Dunia.
·9· ·wheelchair.· At that point, I wasn't worried that he was     ·9· · · · · · · · · (Recess from 1:45 p.m. to 1:57 p.m.)
10· ·going to have another seizure.                               10· · · · · ·Q.· · ·(By Mr. Lane)· Okay.· Exhibit 2, can you
11· · · · · ·Q.· · ·Is that based on your training?               11· ·tell me who wrote all of that?· Do you know?
12· · · · · ·A.· · ·Yes.                                          12· · · · · ·A.· · ·I think it's Susan's handwriting.
13· · · · · ·Q.· · ·Okay.· Why did you think he was not going     13· · · · · ·Q.· · ·Susan who?
14· ·to have another seizure?                                     14· · · · · ·A.· · ·Canterbury.
15· · · · · ·A.· · ·Vital signs are stable.· He's totally         15· · · · · ·Q.· · ·Okay.· Presumably, there's one medication
16· ·coherent.· He knew who he was, where he was, and why he      16· ·sheet per inmate who's getting medicated, right?· There's
17· ·was in jail.                                                 17· ·not --
18· · · · · ·Q.· · ·Okay.· How many times had you interacted      18· · · · · ·A.· · ·Well, there may be several pages.
19· ·with Kyle Schwark, total, at the jail?                       19· · · · · ·Q.· · ·Right.
20· · · · · ·A.· · ·Just on the 14th.                             20· · · · · ·A.· · ·It just depends on --
21· · · · · ·Q.· · ·Okay.                                         21· · · · · ·Q.· · ·Sure.
22· · · · · ·A.· · ·Once when I went to F Pod, and then in        22· · · · · ·A.· · ·-- how many meds they're on.
23· ·Medical all day.                                             23· · · · · ·Q.· · ·Okay.· But, I mean, it's not like --
24· · · · · ·Q.· · ·In writing your report, were you taught in    24· · · · · ·A.· · ·Generally, there's one in the notebook
25· ·nursing school about the importance of reports?              25· ·that tells us everything.


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·1· · · · · ·Q.· · ·That everybody marks on, right?               ·1· · · · · ·Q.· · ·And you can tell because those are her
·2· · · · · ·A.· · ·Yes.                                          ·2· ·initials?
·3· · · · · ·Q.· · ·In other words, when you're on duty and       ·3· · · · · ·A.· · ·Yes.
·4· ·you're giving him meds, it goes on the same sheet as when    ·4· · · · · ·Q.· · ·Okay.
·5· ·Canterbury's on duty and she's giving him meds.· It's all    ·5· · · · · ·A.· · ·And then she -- we packed his medication
·6· ·on one sheet, right?                                         ·6· ·for the next day.· She initialed it because she packed
·7· · · · · ·A.· · ·Yes.                                          ·7· ·it.· But the deputies give him his Xanax that morning.
·8· · · · · ·Q.· · ·Okay.· So this is a sheet pertaining to       ·8· · · · · ·Q.· · ·How do we know that the deputies did that?
·9· ·Kyle Schwark.· And do we know what date this all got         ·9· · · · · ·A.· · ·She wasn't working that day.· It was me
10· ·started -- or is this the whole month of November?           10· ·and Jeri.
11· · · · · ·A.· · ·Well, we do it by months, according to the    11· · · · · ·Q.· · ·Okay.· But how do you know anybody gave
12· ·paperwork.· But then we just mark when they come in --       12· ·him his meds that day?
13· · · · · ·Q.· · ·With a heavy line?                            13· · · · · ·A.· · ·Well, she packed it and --
14· · · · · ·A.· · ·-- so we know that they came in either the    14· · · · · ·Q.· · ·Meaning put it into a little pill
15· ·night of the 12th or the morning of the 13th --              15· ·container --
16· · · · · ·Q.· · ·Okay.                                         16· · · · · ·A.· · ·Yes.
17· · · · · ·A.· · ·-- before we got there.                       17· · · · · ·Q.· · ·-- that then goes out in med pass or
18· · · · · ·Q.· · ·Okay.· You can tell that by the dark          18· ·something?
19· ·line --                                                      19· · · · · ·A.· · ·Yes, sir.
20· · · · · ·A.· · ·Yes.                                          20· · · · · ·Q.· · ·And the inmates, supposedly, take them,
21· · · · · ·Q.· · ·-- that's drawn down the calendar there?      21· ·right?
22· · · · · ·A.· · ·Yes.                                          22· · · · · ·A.· · ·Yes, sir.
23· · · · · ·Q.· · ·Suboxone is the first med listed on the       23· · · · · ·Q.· · ·Okay.· So it got packed.· We don't know if
24· ·med chart, right?                                            24· ·it was delivered, though, right?· You weren't there?
25· · · · · ·A.· · ·Uh-huh.                                       25· · · · · ·A.· · ·I don't know.
                                                        Page 42                                                           Page 44
·1· · · · · ·Q.· · ·Is that a "yes"?                              ·1· · · · · ·Q.· · ·Now, this says alprazolam 3 milligrams a
·2· · · · · ·A.· · ·Actually, I think it was the other way        ·2· ·day; is that right?· Is that Dr. Singer's order here?
·3· ·around for us.· I think this was the first page.             ·3· · · · · ·A.· · ·Yes.
·4· · · · · ·Q.· · ·Okay.· And you said that the Court -- as      ·4· · · · · ·Q.· · ·I understand.
·5· ·far as you knew, he was Court ordered to take all of his     ·5· · · · · · · · · Do you know how much -- well, let's look
·6· ·meds, right?                                                 ·6· ·at Exhibit 16, which is a prescription from Dr. Singer
·7· · · · · ·A.· · ·Yes.                                          ·7· ·dated, it looks like, 2/22/10.
·8· · · · · ·Q.· · ·And so that would include Elidel, right?      ·8· · · · · ·A.· · ·Uh-huh.
·9· · · · · ·A.· · ·Uh-huh.                                       ·9· · · · · ·Q.· · ·Suboxone, and start when con scale score
10· · · · · ·Q.· · ·Is that a "yes"?                              10· ·is 12 or greater.· Is that what that says?· And then it
11· · · · · ·A.· · ·Yes, sir.                                     11· ·says, See taper schedule.
12· · · · · ·Q.· · ·Inositol?                                     12· · · · · ·A.· · ·Yeah.
13· · · · · ·A.· · ·Yes, sir.                                     13· · · · · ·Q.· · ·Okay.· Do you know what any of that refers
14· · · · · ·Q.· · ·Desonide?                                     14· ·to?
15· · · · · ·A.· · ·Yes, sir.                                     15· · · · · ·A.· · ·I don't.· I don't even know what that
16· · · · · ·Q.· · ·Alprazolam, right?                            16· ·scale is referring to.
17· · · · · ·A.· · ·Yes.· Alprazolam.                             17· · · · · ·Q.· · ·Okay.· Is that sort of your understanding
18· · · · · ·Q.· · ·Alprazolam, is that the Xanax?                18· ·of why you need to be specially trained to administer
19· · · · · ·A.· · ·That's Xanax.                                 19· ·Suboxone?
20· · · · · ·Q.· · ·Okay.· And on the Xanax, there are two        20· · · · · ·A.· · ·Yes.· I mean, it's a specific medication.
21· ·little notes -- or two little checks, one for the 13th       21· ·You have to have a certification so that they can explain
22· ·and one for the 14th.                                        22· ·every single thing there is to know about it.
23· · · · · ·A.· · ·Yes.· So that would be the afternoon of       23· · · · · ·Q.· · ·Okay.· And did anybody in the Park County
24· ·the -- let's see.· Yeah.· On the afternoon of the 13th,      24· ·jail have such a certification --
25· ·the Xanax was given by Susan Canterbury.                     25· · · · · ·A.· · ·No.

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